District Version v6.2.2 LIVE DB                                    https://ecf.nmd.circ10.dcn/cgi-bin/DktRpt.pl?103673359430373-L_1_0-1
                            Case 5:19-mj-00333-STE Document 1 Filed 06/21/19 Page 1 of 5
                                                                                                                 FUGITIVE

                                            U.S. District Court
                            District of New Mexico - Version 6.2.2 (Las Cruces)
                      CRIMINAL DOCKET FOR CASE #: 2:19-cr-01715-RB-1 *SEALED*
                                            Internal Use Only


         Case title: USA v. Benvie                                           Date Filed: 06/19/2019


         Assigned to: Sr. District Judge Robert C.
         Brack

         Defendant (1)
         James Christopher Benvie

         Pending Counts                              Disposition
         18:912 FALSE PERSONATION OF AN
         OFFICER OR EMPLOYEE OF THE
         UNITED STATES
         (1-2)

         Highest Offense Level (Opening)
         Felony

         Terminated Counts                           Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                  Disposition
         None



         Plaintiff
         USA                                              represented by Randy M Castellano
                                                                         United States Attorney's Office
                                                                         Criminal
                                                                         200 North Church Street
                                                                         Las Cruces, NM 88001


1 of 2                                                                                                            06/21/2019, 9:39 AM
District Version v6.2.2 LIVE DB                                   https://ecf.nmd.circ10.dcn/cgi-bin/DktRpt.pl?103673359430373-L_1_0-1
                            Case 5:19-mj-00333-STE Document 1 Filed 06/21/19 Page 2 of 5

                                                                            575-522-2304
                                                                            Fax: 575-522-2391
                                                                            Email: randy.castellano@usdoj.gov
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED
                                                                            Designation: Retained

                                                                            Renee L Camacho
                                                                            United States Attorney's Office
                                                                            200 N. Church Street
                                                                            Las Cruces, NM 88001
                                                                            575-522-2304
                                                                            Fax: 575-522-2391
                                                                            Email: renee.camacho@usdoj.gov
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED
                                                                            Designation: Retained


          Date Filed              #      Docket Text
          06/19/2019                  1 [SEALED CASE] PLEASE TAKE NOTICE that this case has been assigned
                                        to Sr. District Judge Robert C. Brack.

                                         The first page of each document must have the case file number and initials of
                                         the assigned judge. Accordingly, further documents filed in this matter must
                                         bear the case number and the judge's initials shown in the case caption and
                                         the NEF for this document. Kindly reflect this change in your filings.
                                         [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.] (kls)
                                         (Entered: 06/20/2019)
          06/19/2019                  2 [SEALED CASE] [COURT ONLY] (Court only) INDICTMENT as to
                                        James Christopher Benvie (1) count(s) 1-2. (kls) (Entered: 06/21/2019)
          06/19/2019                  3 [SEALED CASE] REDACTED INDICTMENT as to James Christopher
                                        Benvie (1) count(s) 1-2. (kls) (Entered: 06/21/2019)
          06/19/2019                  4 [SEALED CASE] [APPLICABLE PARTY] ARREST Warrant Issued as to
                                        James Christopher Benvie. Original ARREST Warrant with AO 442 Page 2
                                        and one certified copy of Indictment hand-delivered to USMS by CRD K.
                                        Solis. (kls) (Entered: 06/21/2019)
          06/19/2019                     [SEALED CASE] [COURT ONLY] (Court only) ***FUGITIVE flag set as
                                         to James Christopher Benvie. (kls) (Entered: 06/21/2019)




2 of 2                                                                                                           06/21/2019, 9:39 AM
CaseCase
     2:19-cr-01715-RB
         5:19-mj-00333-STE
                      *SEALED*
                            Document
                                Document
                                     1 Filed
                                         3 Filed
                                             06/21/19
                                                 06/19/19
                                                      PagePage
                                                           3 of 51 of 2
CaseCase
     2:19-cr-01715-RB
         5:19-mj-00333-STE
                      *SEALED*
                            Document
                                Document
                                     1 Filed
                                         3 Filed
                                             06/21/19
                                                 06/19/19
                                                      PagePage
                                                           4 of 52 of 2
CaseCase
     2:19-cr-01715-RB
         5:19-mj-00333-STE
                      *SEALED*
                            Document
                                Document
                                     1 Filed
                                         4 Filed
                                             06/21/19
                                                 06/19/19
                                                      PagePage
                                                           5 of 51 of 1
